                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                   3:12-CR-239
                                    )
         vs.                        )
                                    )                   ORDER
GLYNN HUBBARD (4)                   )
____________________________________)


       THIS MATTER is before the Court on Defendant Hubbard’s Motion to Transfer Pretrial

Release Supervision (Doc. No. 551) and the Government’s Response (Doc. No. 565). Defendant

seeks to have his supervision transferred to the Southern District of Texas so that he may reside

with a long-term friend and attempt to obtain employment there. The Government opposes his

request in light of a previous bond violation, and also because Defendant has no family in

Houston, Texas and does not actually have employment lined up there. The Court shares the

Government’s concerns. Given his previous bond violation and the inadequacy of Defendant’s

proposed relocation, the Court finds that transferring Defendant’s pretrial supervision to the

Southern District of Texas is inappropriate at this time.

       IT IS THEREFORE ORDERED that Defendant’s Motion (Doc. No. 551) is DENIED.

SO ORDERED.

 Signed: June 2, 2014




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   Case 3:12-cr-00239-GCM-DCK              Document 581        Filed 06/02/14      Page 1 of 1
